                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

BLYTHE MCDONNELL &                               )
SEAN MCDONNELL,                                  )
                                                 )
      Plaintiffs,                                )
                                                 )
v.                                               )    Case No: 4:17-cv-000146-DGK
                                                 )
NATIONSTAR MORTGAGE, LLC,                        )
FIELD ASSET SERVICES, LLC a/k/a                  )
ASSURANT FIELD ASSET SERVICES,                   )
SOLUTIONSTAR FIELD SERVICES, LLC,                )
SPECTRUM FIELD SERVICES, INC., AND               )
SOUND MIND REAL ESTATE, LLC,                     )
                                                 )
      Defendants.                                )

            DEFENDANT SOUND MIND REAL ESTATE, LLC’S
     MEMORANDUM IN SUPPORT OF ITS MOTION TO DISMISS COUNT I OF
              PLAINTIFFS’ FIRST AMENDED COMPLAINT

       COMES NOW Defendant, Sound Mind Real Estate, LLC (“Sound Mind”), by and

through its attorneys, Fox Galvin, LLC, and in support of its motion to dismiss, states:

                                       I. INTRODUCTION

       This action was originally filed in state court, in the Circuit Court of Jackson County,

Missouri, on January 23, 2017. On February 28, 2017, the case was removed to this Court.

(ECF No. 3). On December 28, 2017, this Court entered an Order dismissing with prejudice

Count I of Plaintiffs’ Complaint against Field Asset Services LLC d/b/a Assurant Field Services,

LLC. On January 16, 2018, plaintiffs filed a First Amended Complaint (ECF No. 54).

       Sound Mind’s Motion to Dismiss plaintiffs’ Count I is similar to the Motion to Dismiss

filed by FAS on September 9, 2017, which this Court granted on December 28, 2017. Sound

Mind seeks dismissal of plaintiffs’ claim against it for violations of the Missouri Merchandising

Practices Act, §§ 407.020 et seq. (“MMPA”) on two bases. First, Sean McDonnell was never a



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“purchaser” and, therefore, lacks standing to bring an action under the MMPA. Second, there is

no plausible factual basis to support plaintiffs’ MMPA claim against Sound Mind because Sound

Mind is in no way a “loan servicer” as required by the Act. In other words, plaintiffs do not

plead a plausible factual basis to support a claim that acts of Sound Mind were “in connection

with” a “purchase” of “mortgage loan transactions” or that Sound Mind was in any way a “loan

servicer”.

        Therefore, plaintiffs cannot state a claim against Sound Mind pursuant to the MMPA and,

thus, the Court should dismiss Count I of plaintiffs’ First Amended Complaint against Sound

Mind.

                                    I. QUESTION PRESENTED

        Do Plaintiffs state a claim upon which relief may be granted pursuant to Fed. R. Civ. P.

12(b)(6), against Defendant Sound Mind, for violations of the MMPA?

                                        II. SHORT ANSWER

        No. Plaintiffs cannot state a claim upon which relief may be granted pursuant to Fed. R.

Civ. P. 12(b)(6) against Sound Mind for violations of the MMPA because Sean McDonnell was

not a “purchaser” (and therefore, lacks standing to bring a claim against Sound Mind), and

Sound Mind is not a “loan servicer” under the MMPA.

                                  III. STANDARD OF REVIEW

        “In order to survive a Rule 12(b)(6) motion to dismiss, a complaint must contain ‘enough

facts to state a claim to relief that is plausible on its face.’” Kelly v. Cape Cod Potato Chip Co.,

81 F. Supp. 2d 754, 757 (W.D. Mo. 2015) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct.

1937, 173 L. Ed. 2d 868 (2009)). “A complaint is plausible if its ‘factual content allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. (citing Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 594 (8th Cir. 2009)). “The complaint
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must contain more than mere labels and conclusions or a formulaic recitation of the elements of

the claim.” Id. (citing Bell Atl. Corp. v. Twomby, 550 U.S. 544, 594, 127 S. Ct. 1955, 167 L. Ed.

2d 929 (2007)). “For purposes of a Rule 12(b)(6) motion, the court must accept the allegations

of the complaint as true; however, the court is ‘not bound to accept as true a legal conclusion

couched as a factual allegation.’” Id. (citing Iqbal, 556 U.S. at 678).

                                          IV. ARGUMENT

       Sean McDonnell does not have a claim against Sound Mind under the MMPA

       Sean McDonnell cannot assert a plausible claim under the MMPA because he was never

a “purchaser,” nor was he a title holder to the property at issue.

       Pursuant to § 407.025.1, RSMo., a person is entitled to bring a civil action under the

MMPA only if they is a “person who purchases or leases merchandise primary for personal,

family, or household purposes and thereby suffers an ascertainable loss of money or property,

real or personal, as a result of the use of employment by another person of a method, act, or

practice declared unlawful by section 407.020 … .” Section 407.025.1, RSMo (2016). “By the

language of § 407.025, the legislature provided a cause of action for one who purchases, not one

who attempts or offers to purchase.” Lauria v. Wright, 805 S.W.2d 344, 346 (Mo. App. 1991)

(citing Jackson v. Charlie’s Chevrolet, Inc., 664 S.W.2d 675 (Mo. App. 1984)). Additionally,

“Real estate transactions are not covered by § 407.025.” Id. The MMPA does not authorize

Sean McDonnell to file a claim under the MMPA where he has not made a “purchase” of any

“merchandise” that would entitle him to do so.

       Sean McDonnell did not purchase a mortgage loan in connection with the property in

question. Sean McDonnell is neither the title nor record holder of the Property at issue in this

lawsuit. Therefore, because Sean McDonnell did not make a “purchase” in connection with the

claim he is making for damages, the MMPA does not authorize him to sue under the Act, and
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this Court should dismiss Sean McDonnell’s claims against Sound Mind under Count I of

plaintiffs’ First Amended Complaint for failure to state a claim upon which relief may be

granted.

       There is no plausible factual basis for plaintiffs to assert that Sound Mind is a “loan

servicer.”

       Sean McDonnell and Blythe McDonnell have both failed to state a claim in their First

Amended Complaint against Sound Mind under the Missouri Merchandising Practices Act.

Plaintiffs assert, without factual basis, that Sound Mind “performed various aspects of loan

servicing in connection with that mortgage loan.” (ECF No. 54 at ¶ 37). This allegation has

absolutely no plausible basis whatsoever. Plaintiffs’ entire allegation under the MMPA with

respect to Sound Mind assumes Sound Mind is a “mortgage loan servicer,” which is unfounded

and untrue and has been pled in a disingenuous attempt to avoid the impact of the Court’s

December 28, 2017. (ECF. No. 51)

       Sound Mind is not a “loan servicer.” Sound Mind does not have any duties with respect

to Blythe McDonnell’s loan in any way. Sound Mind only performs property preservation

services. As to the property at issue, Sound Mind was contacted only to perform property

preservation services at the property. (See generally Work Order between Sound Mind and Field

Asset Services, Exhibit A). Such property preservation services were not a service sold to

Blythe McDonnell in connection with her mortgage loan, nor were they services that were

purchased by Blythe McDonnell in connection with her mortgage loan. Sound Mind did not

assume any duty, much less a continuing duty, to service Blythe McDonnell’s mortgage loan.

       Plaintiffs allege that the “unlawful actions of Defendants… occurred in connection with

the sale or advertisement of merchandise in trade or commerce, specifically the mortgage loan



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transaction on the Premises.” (ECF No. 54 at ¶ 38). However, Sound Mind had nothing to do

with the mortgage loan transaction involving the Property at issue.

       Furthermore, Sound Mind is not a bank. Sound Mind is not a lender. Sound Mind does

not collect money from the plaintiffs nor pay money on behalf of the plaintiffs to anyone

pursuant to loan terms. Nor do plaintiffs allege any of the above. The services performed, which

generically have been labeled as “mortgage loan servicing” by plaintiffs are clearly excluded by

the portions of the Deed of Trust. Plaintiffs’ argument is that Sound Mind contracts with a

company who services loans, and thus, any service Sound Mind performs is by default “in

connection” with the “servicing” of a mortgage loan. Plaintiffs’ MMPA claim is simply not

plausible under even plaintiffs’ generic and conclusory allegations.

       Although Blythe McDonnell, by signing the Deed of Trust, permitted property services to

be performed, she did not purchase them as part of the loan transaction. The lender, or the

holder of the Deed of Trust, was explicitly under no obligation to perform them at any time

during the pendency of the mortgage loan. However, in the event of a default of the covenants of

the loan, including nonpayment – as in this case – the holder of the Deed of Trust reserved the

right to ensure that the property was secure by performing lock changes, winterization, grass

cutting, and other work upon the property. That was not something that Blythe McDonnell

purchased and it was not something that the lender or the holder of the Deed of Trust had any

obligations to perform.

       The full provision of the Deed of Trust provides:

               9. Protection of Lender’s Interest in the Property and Rights
               Under this Security Instrument. If (a) Borrower fails to
               perform the covenants and agreements contained in the
               security instrument, (b) there is a legal proceeding that might
               significantly affect Lender’s interests in the property and/or rights
               under the Security Instrument (such as appreciating and
               bankruptcy, probate, for condemnation or forfeiture, for
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               enforcement of a lien which may attain priority over the Security
               Instrument or to enforce laws or regulations), or (c) Borrower has
               abandoned the property, then Lender many do and pay for
               whatever is reasonable or appropriate to protect Lender’s interest
               in the property and rights under the Security Instrument, including
               protecting and/or assessing the value of the property, and securing
               and/or repairing the property. Lender’s actions can include, but
               are not limited to: (a) paying any sums secured by a lien which
               has priority over this Security Instrument; (b) appearing in
               court; and (c) paying reasonable attorneys’ fees to protect its
               interest in the Property and/or rights under this Security
               Instrument, including its secured position in a bankruptcy
               proceeding. Securing the property includes, but is not limited to,
               entering the property to make repairs, change locks, or place or
               board up doors and windows, drain water from pipes, eliminate
               building or other code violations or dangerous conditions, and
               have utilities turned on or off. Although Lender may take
               action under this Section 9, Lender does not have to do so and
               is not under duty or obligation to do so. It is agreed that
               Lender incurs no liability for not taking any or all actions
               authorized under this Section 9.
                        Any amounts disbursed by Lender under this Section 9
               shall become additional debt of Borrower secured by this Security
               Instrument. These amounts shall bear interest at the Note rate from
               the date of disbursement and shall be payable, with such interest,
               upon notice from Lender to Borrower requesting payment.
                        If this Security Instrument is on a leasehold, Borrower shall
               comply with all the provisions of the lease. If Borrower acquires
               fee title to the Property, the leasehold and the fee title shall not
               merge unless Lender agrees to the merger in writing.

Id. (emphasis added). The italicized portions were included in the First Amended Complaint.

The bolded portions are conveniently left out by plaintiffs in the First Amended Complaint.

       The most important provision for purposes of whether or not such “services” were “in

connection” with plaintiff Blythe McDonnell’s “purchase” of a mortgage loan is the term which

states: “Although Lender may take action under this Section 9, Lender does not have to do

so and is not under duty or obligation to do so.” Id. at ¶ 9. Thus, the “services” that plaintiffs

assert damaged them were not included in the “agreed upon bundle of services being ‘sold’ by

the lender to the borrower” as the Missouri Supreme Court stated in Conway v. Citimortgage,

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Inc., 438 S.W.3d 410, 412 (Mo. banc 2014). As the Missouri Supreme Court in Conway pointed

out, “A loan is composed of both the initial extension of credit and the bundle of related

services.” Id. at 415. “It creates a long-term relationship in which the borrower and the lender

continue to perform various duties, such as making and collecting payments over an extended

period of time.” Id. By contrast, the Deed of Trust explicitly makes clear that the work

contracted out to defendant Sound Mind in this case was not a duty included with the loan.

       Moreover, pursuant to 12 U.S.C.S. § 26059(i)(2) and (3), the term “servicer” is defined as

“the person responsible for servicing of a loan (including the person who makes or holds a loan

if such person also services the loan)” and the term “servicing” means receiving any scheduled

periodic payments from a borrower pursuant to the terms of any loan, including amounts for

escrow accounts described in section 10 [12 USCS § 2609] and making the payments of

principal and interest and such other payments with respect to the amounts received from the

borrower as may be required pursuant to the terms of the loan.” 12 U.S.C.S. § 2605(i)(2)-(3).

       Likewise, as this Court noted in its Order granting Nationstar and FAS’s Motion to

Dismiss, the Missouri Supreme Court has held that a service is not in connection with the sale of

a loan if “that was not a service the lender agreed to sell or the borrower agreed to buy when the

parties agreed to the loan. Watson v. Wells Fargo Home Mortg., Inc., 438 S.W.3d 404, 408 (Mo.

2014). The Eighth Circuit analyzed these decisions in the context of determining whether a trustee

under a deed of trust can be sued under the MMPA for carrying out its duties as a trustee. In deciding

whether such services are made “in connection with the sale” of a loan, it held:

       the Conway court made clear that its rationale turned on the continuing nature of the
       lender-borrower relationship. As the court explained, “[b]ecause [the lender and the
       borrower] must continue to perform ... duties for the life of the loan, the sale
       continues throughout the time the parties perform their duties.” Consequently, an
       action taken while performing these continuing duties is “in connection with” the sale
       of a loan. Unlike the defendants in Conway and Watson, [the trustee] did not assume
       a continuing duty to service the Wivells’ loan. Instead, the deed of trust established a
       narrow, contingent role for [the trustee] in the event that the Wivells defaulted.
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           Because [the trustee] did not “continue to perform” these duties “for the life of the
           loan,” the rule established by Conway and Watson does not apply to a trustee.

Wivell v. Wells Fargo Bank, N.A., 773 F.3d 887, 895 (8th Cir. 2014) (quoting Conway, 438 S.W.3d

at 415).

           Similarly noted by this Court in its December 28 Order regarding defendant FAS, “the

question here is whether [Sound Mind’s] alleged role is more analogous to a loan servicer or to a

trustee exercising power pursuant to some provision in a deed of trust.” (ECF. No. 51) Like the Court

analogized in its Order, unlike a loan servicer, Sound Mind did not play a continuous role in this loan

transaction. Sound Mind provides property preservation services, and property preservation services

are not a service that was sold to, or purchased by, Blythe McDonnell in connection with her

mortgage. Sound Mind is simply a third-party hired to perform certain work allegedly authorized by

the deed of trust and thus, in no way is a “loan servicer.”

           Plaintiffs do not plead a plausible factual basis to support a claim that Sound Mind was a

“loan servicer.” Therefore, plaintiffs cannot state a claim against Sound Mind pursuant to the

Missouri Merchandising Practices Act, §§ 407.020 et seq. (“MMPA”) and, thus, the Court

should dismiss Count I of plaintiffs’ First Amended Complaint against Sound Mind.

                                            V. CONCLUSION

           Because the claims of plaintiffs are not plausible, Sound Mind respectfully asks this

Court to grant its Motion to Dismiss Count I of plaintiffs’ First Amended Complaint.

           WHEREFORE Defendant Field Asset Services, LLC a/k/a Assurant Field Services, LLC

respectfully requests this Court dismiss Count I of Plaintiffs’ First Amended Complaint against

Sound Mind for failure to state a claim upon which relief may be granted, and for such other and

further relief as the Court deems just and proper.




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                                      CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2018, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will serve the following counsel of record:

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